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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Xx

 

N.S.!, individually and on behalf of all others
similarly situated,

c/o The Public Defender Service

for the District of Columbia

633 Indiana Avenue, N.W.

Washington, D.C. 20004

Case: 1:20-cv-00101
. Assigned To: Lamberth, Royce C.
v. : Assign. Date: 1/14/2020

: Description: TRO/PI (D-DECK)

Plaintiff,

MICHAEL A. HUGHES, United States
Marshal, District of Columbia (Superior Court), :
in his official capacity :
Superior Court for the District of Columbia
500 Indiana Ave., N.W.
Washington, D.C. 20001

Defendant. :
x

 

CLASS ACTION COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiff N.S., on behalf of a class of similarly situated indigent criminal defendants in
Superior Court for the District of Columbia who have been detained by the United States Marshals
Service for suspected civil immigration violations, alleges as follows:

PRELIMINARY STATEMENT

1. This case seeks to remedy and prevent the routine unlawful detention of people in the

Superior Court for the District of Columbia (“Superior Court”) pursuant to an unlawful policy and

practice of the United States Marshals Service (““USMS” or “Marshals Service”). On a regular

 

; Plaintiff has filed a Motion for Leave to Proceed Using Their Initials contemporaneo us ly
with this Class Action Complaint.
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basis, USMS officers exceed their statutory authority by unlawfully detaining individuals who
have been ordered released by a Superior Court judge, or whose cases the United States Attorney’s
Office declines to prosecute, but are suspected of violating civil immigration statutes.2 Because
the Marshals Service’s actions are in excess of thei statutory authority, they violate the
Administrative Procedure Act, 5 U.S.C. §§ 500 ef seq. and are ultra vires agency action.

2. Plaintiff N.S. is a District of Columbia-area resident who was seized and detained
by officers of the United States Marshals Service after he was ordered released by Magistrate
Judge Hermann of the Superior Court. N.S. has lived in the District of Columbia area for eight
years and has an infant child who is a United States citizen. N.S. was initially arrested on January
13, 2020, and presented before Magistrate Judge Hermann on January 14, 2020. The government
sought detention prior to trial under D.C. Code Section 23-1322(a)(1)(C), as N.S. was on probation
for an offense at the time of his arrest on January 13,2020. Magistrate Judge Hermann rejected
the government’s request, declining to find that N.S. would “flee or pose a danger to any person
or the community,” as is required under District of Columbia law. D.C. Code § 23-1322(a)(2).
Magistrate Judge Hermann granted N.S.’s release on his own recognizance, to return to court on
January 27,2020. Despite Magistrate Judge Hermann’s order, immediately after N.S. was ordered
released, N.S. was taken into custody by the Marshals Service for an “ICE hold.”

By Officers of the Marshals Service lack the authority to detain people for civil
immigration violations. The “primary role and mission of the United States Marshals Service [is]
to provide for the security and to obey, execute, and enforce all orders of the United States District

Courts, the United States Courts of Appeals, the Court of International Trade, and the United States

 

e Pursuant to D.C. Code Section 11-1729, the Marshals Service “serve[s] the courts of the
District of Columbia,” including the Superior Court.

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Tax Court.” 28 U.S.C. § 566(a). Accordingly, the Marshals Service describes its mission as “to
provide Federal judicial security; apprehend fugitives and non-compliant sex offenders; secure and
transport Federal prisoners; execute Federal court orders; seize and manage assets forfeited to the
government; and assure the safety of endangered government witnesses and their families.” U.S.
MARSHALS SERV., FY 2019 PERFORMANCE BUDGET 6 (2018). To that end, the statutory authority of
the Marshals Service does not include the general enforcement of civil laws of the United States, let
alone the vast power to make warrantless arrests of suspected civil immigration violations.

4, Congress has carefully and specifically delineated the authority to enforce federal
immigration law to Immigration and Customs Enforcement (“ICE”) and certain other experienced
federal immigration officials. The Immigration and Nationality Act (“INA”), 8 U.S.C. §§ 1101 et
seq. and its implementing regulations authorize only a carefully defined group of law enforcement
agencies with expertise in immigration law to exercise warrantless arrest power for suspected civil
immigration violations. The Marshals Service is not such an agency.

5. The proposed class of plaintiff§ seeks a preliminary and permanent order enjoining the
Marshals Service from detaining and arresting individuals in Superior Court for suspected civil
immigration violations and directing ther immediate release. Without an injunction, likely hundreds
of people will continue to be unlawfully detained in excess of the authority ofthe Marshals Service.

JURISDICTION AND VENUE

6. This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. Section
1331 because it arises under the Constitution and laws of the United States.

te Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.
Sections 2201 and 2202, by 5 U.S.C. Section 702, by Federal Rules of Civil Procedure 57 and 65,
and by the inherent equitable powers of this Court.

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8. Venue is proper in this District under 28 U.S.C. Section 1391(e)(1) because a substantial
part of the events or omissions giving rise to this action occurred, and continue to occur, in this
District.

PARTIES

9. N.S. was arrested on January 13, 2020. After appearing before Magistrate Judge
Hermann on January 14, 2020, N.S. was ordered released after Magistrate Judge Hermann found that
N.S. does not pose a risk of flight and is not a danger to the community. After Magistrate Judge
Hermann released N.S., he was detained by officers of the Marshals Service.

10. Defendant Michael A. Hughes is sued in his official capacity as United States Marshal,
District of Columbia (Superior Court). In this capacity, Defendant Hughes oversees the operations
of USMS officers in Superior Court.

BACKGROUND

11. By statute and regulation, Congress has authorized only specifically-designated
immigration officials to detain people for suspected immigration violations. Officers of the
Marshals Service are not included.

12. The INA authorizes only “immigration officers,” defined as “any employee or class
of employees of [ICE] or ofthe United States designated by the Attorney General,” to enforce civil
immigration law. 8 U.S.C. §§ 1101(a)(18), 1357.3

13. Specifically, only those ICE officers who are “authorized under regulations

prescribed by the Attorney General’ can, without a warrant, “arrest any alien who ... he has reason

 

2 The INA refers to “any employee or class of employees of the Service,” 8 U.S.C.
§ 1101(a)(18), referrmg to the Immigration and Naturalization Service, id. § 1101(a)(34), which
is the predecessor agency to ICE, see Homeland Security Act of 2002, Pub. L. 107-296, 116 Stat.
2135.

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to believe that the alien so arrested is in the United States in violation of [immigration law}.” 8
US.C. § 1357(a)(2).

14. The Attorney General’s prescribed regulations further limit the scope of ICE officers
who are authorized to make warrantless arrests. Those regulations specify that only “immigration
officers who have successfully completed basic immigration law enforcement trainng’ may
“exercise the arrest powerconferred by section [1357](a)(2).” 8 C.F.R. § 287.5(c)(1). The regulations
empower the following “immigration officers” to make warrantless arrests: border patrol agents, air
and marine agents, special agents, deportation officers, Customs and Border Patrol (“CBP”) officers,
immigration enforcement agents, supervisory and managerial personnel who supervise any of the
preceding officers, and certain other “[i]Jmmigration officers . . . who are designated” by “the
Commissioner of CBP, the Assistant Secretary/Director of ICE, or the Director of the USCIS.” 8
C.F.R. § 287.5(c)(1)()- (viii).

15. The INA also permits the Attorney General to “enter into a written agreement with a
State, or any political subdivision ofa State,” allowing law enforcement officers of that state to “carry
out” functions of immigration officers “in relation to the investigation, apprehension, or detention of
aliens in the United States.” 8 U.S.C. § 1357(g)(1). Under such written agreement, state law
enforcement officers participating in this program must obtain a “written certification that the officers
... performing the function under the agreement have received adequate training regarding the
enforcement ofrelevant Federal immigration laws.” Jd. § 1357(g)(2).

16. | Under the INA and its implementing regulations, certain authorized immigration
officers “may at any time issue a Form I-247, Immigration Detainer-Notice of Action, to any other

Federal, State, or local law enforcement agency.” 8 C.F.R. § 287.7(a); see also 8 U.S.C. § 1357(d).
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17. By regulation, these detainers are merely “a request that [the agency receiving the
detainer] advise the Department [of Homeland Security], prior to release of the alien, in order for the
Department to arrange to assume custody.” 8 C.F.R. § 287.7(a) (emphasis added).

18. By its own terms, the ICE detainer form is a “request[]” that the agency receiving the
detainer maintain custody of the targeted person. See Exhibit A (emphasis added).

19. A host of recent court opinions confirms what is clear from the implementing
regulations and from the ICE detainer form itself: “[S]ettled constitutional law clearly establishes that
{ICE detainers] must be deemed requests.” Galarza v. Szalczyk, 745 F.3d 634, 643 (3d Cir. 2014).

20. Like an ICE detainer, an ICE I-200 warrant conveys no legal authority from ICE to
any other agency. The I-200 warrant is issued onlyto “[a]ny immigration officer authorized pursuant”
to the statute and regulations discussed above. See Exhibit B.

21. In sum, Congress has created a careful scheme under which only law enforcement
officers that are extensively trained in immigration law are authorized to make warrantless arrests for
suspected immigration violations. These specifically-delegated officers cannot use detainers to
empower other untrained officers to exercise this authority. Officers ofthe Marshals Service, who do
not receive such extensive training, are not included in this careful scheme, nor may they exercise
those specifically-delegated powers simply by receiving a warrant or detainer.

22. The limited authority of the Marshals Service is provided for by statute. The
“primary role and mission of the United States Marshals Service [is] to provide for the security and
to obey, execute, and enforce all orders of [various courts], as provided by law.” 28 U.S.C. § 566(a).
In service of this limited mission, Congress has carefully empowered the Marshals Service with only
limited authority. None of these statutory grants of power contemplates warrantless arrests for

suspected civil immigration violations.
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FACTS GIVING RISE TO THIS ACTION

23. Plaintiff N.S. was arrested on January 13, 2020, and appeared before Magistrate Judge
Hermann of the Superior Court on January 14, 2020.

24. After concluding that N.S. was neither a flight risk nor a danger to the community,
Magistrate Judge Hermann released N.S. on his own recognizance, and ordered N.S. to return on
January 27, 2020.

25. Immediately after Magistrate Judge Hermann orderedN.S. released, N.S. was detained
by USMS officers. At the time of his detention and for at least two hours following his detention,
neither N.S., nor N.S.’s defense counsel, nor undersigned counsel, was provided a copy of an ICE
detainer or any other written information from ICE.

26. Upon information and belief} Plaintiff remains detained in the custody of the Marshals
Service and the United States Marshal, District of Columbia (Superior Court) pending his transfer
to civil immigration custody.

27. Upon information and belief pursuant to a policy and practice of the Marshals
Service, USMS officers routinely seize and detain individuals for suspected civil immigration
infractions even after individuals are ordered released by a judge of the Superior Court, or after
the United States Attorney’s Office declines prosecution.

CLASS ALLEGATIONS

28. Pursuant to Federal Rule of Civil Procedure 23(b)(1) and (b)(2), N.S. brings this action
as aclass consisting of:

All indigent criminal defendants in the Superior Court for the District of Columbia:

(1) who were, are, or will be detained by officers of the United States Marshals

Service for suspected civil mmigration violations, and (2) as to whom Immigration

and Customs Enforcement has not effectuated a warrant of removal/deportation (a
form I-205) and/or has not obtained an order of deportation or removal.

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29. Plaintiff reserves the right to amend the class definitions or establish sub-classes as
appropriate if discovery or further investigation reveals that the class should be expanded or otherwise
modified.

30. Numerosity: The class is so numerous that joinder is impracticable. While the
precise size of the class is unknown, upon information and belief; Plaintiff believes that at least
dozens of people are detained by USMS officers every year for suspected civil immigration
violations. Jomder is also inherently impractical because the number of unnamed, future class
members who will be detained by USMS officers is unknown and unknowable. Further, proposed
class members are highly unlikely to file individual suits on their own behalf given the practical,
legal, linguistic, monetary, and fear-based barriers that prevent their ability to access independent
counsel to challenge the actions of USMS officers.

31. | Commonality: The claims of the class share common issues of law, including but
not limited to whether USMS officers violate the APA when they detain people for alleged civil
immigration violations.

32.  Typicality: The claims of Plaintiff N.S. are typical of those of the class as a whole
because he is currently detained by the Marshals Service. By definition, all class members are, or
will be, detained by the Marshals Service on suspicion of civil immigration violations.

33. Adequacy: Plaintiff N.S. is an adequate class representative who meets all of the
requirements of Rule 23(a)(4). He has no conflict of interest with other class members. He will
also fairly and adequately protect the interests of the class, and understands his responsibilities as
class representative. Counsel for Plaintiff will vigorously prosecute the interests of the class, and

has extensive experience with the factual and legal issues litigated in this case.
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34. If by the time this Complaint is reviewed, Plaintiff N.S. is no longer in the custody
of the Marshals Service, he may still adequately represent the class. “[MlJooting of the named
plaintiff's claims — even before class certification — will not require dismissal of the case if ‘the
challenged conduct and the claims raised are so inherently transitory that the trial court will not
even have enough time to rule on a motion for class certification before the proposed
representative's individual interest expires.’” Garnett v. Zeilinger, 323 F. Supp. 3d 58, 65 (D.D.C.
2018) (quoting Genesis Healthcare Corp. v. Symczyk, 569 U.S. 66, 76 (2013)).

35. Defendant has acted and will act on grounds generally applicable to the class, thereby
making final injunctive and declaratory relief appropriate to the class asa whole. This is because
Defendant’s actions were taken pursuant to a policy and practice of the Marshals Service. A
permanent injunction of the policy will therefore benefit all class members. The class may
therefore be properly certified under Federal Rule of Civil Procedure 23(b)(2).

CAUSES OF ACTION

FIRST CLAIM FOR RELIEF
ADMINISTRATIVE PROCEDURE ACT, 5 U.S.C. § 500 ET SEQ.

36. The APA requires the “reviewing court” to “hold unlawful and set aside agency
action” that is “contrary to constitutional right” or “in excess of statutory jurisdiction.” 5 U.S.C.
§ 706(2).

37.  Defendant’s detention of Plaintiff and proposed class members is final agency
action that is reviewable under the APA, because Defendant’s seizure of Plaintiff is not tentative
or interlocutory, and Defendant’s actions created legal consequences, namely, the restriction of
Plaintiff's liberty. 5 U.S.C. § 704.

38. The actions of the Marshals Service are “in excess of statutory jurisdiction,” 5

U.S.C. § 706(2)(C), because they exceed the scope of authority delegated to the Marshals Service
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and because officers of the Marshals Service is not among the officers who Congress authorized
in the INA to enforce federal civil immigration law.

39. Plaintiff and proposed class members have “sufferfed],” and will “suffer{] legal
wrong because” of Defendant’s actions. 5 U.S.C. § 702

SECOND CLAIM FOR RELIEF
ULTRA VIRES ACTIONS

40. Federal law does not authorize Defendant to detain people they suspect of civil
violations of federal immigration law.

41. Defendant has seized, and continues to seize Plaintiff with arrest and detention that
is not authorized by any valid legal authority.

42. Defendant has acted and continues to act under color of law, but in excess of its
legal authority.

43, Defendant has acted, and continues to act, u/tra vires —that is, Defendant has acted
and continue to act in excess of ther statutory authority — when it detains Plaintiff for suspected
civil immigration violations.

44, — Judicial review ts available “to determine whether the agency has acted ‘ultra vires’
— that is, whether itt has ‘exceeded its statutory authority.”” Mittleman v. Postal Regulatory
Comm'n, 757 F.3d 300, 307 (D.C. Cir. 2014) (citng Leedom v. Kyne, 358 U.S. 184 (1958)).

45. Asaresult of Defendant’s ultra vires actions, Plaintiff and the proposed class suffer
injury.

THIRD CLAIM FOR RELIEF
HABEAS CORPUS, 22 U.S.C. § 2241

46. Plaintiff and the proposed class are detained in federal custody.

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47. Plaintiff and the proposed class are in custody “in violation of the Constitution or
laws or treaties ofthe United States,” 28 U.S.C. § 224] (c)(3), because Defendant violated the APA
when it detained Plaintiff and the proposed class for suspected civil law violations that Defendant
lacks the authority to enforce.

48. | The Court has the power to grant Plaintiff and the proposed class the writ of habeas
corpus. 28 U.S.C. § 2241.

49. As aresult of this violation, Plaintiff and the proposed class suffers injury.

50. Plamtiff and the proposed class seek immediate release from their unlawful
detention.

RELIEF REQUESTED

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in his favor
and:

1. Issue an injunction prohibiting Defendant, its subordinates, agents, employees, and all
others acting in concert with Defendant from seizing individuals for suspected civil
immigration violations and enjoining them from undertaking such arrests;

2. Order Defendant to release all class members who are in the custody of the United
States Marshals Service;

3. Issue a judgment declaring that Defendant violates the Administrative Procedure Act
by detaming people suspected of civil immigration violations;

4. Enter a preliminary injunction as to the class;

5. Enter a permanent injunction preventing Defendant from detaining people suspected
of civil immigration violations;

6. Award such further relief as this Court deems appropriate.

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Dated: January 14,2020
Washington, D.C.

Respectfully submitted,

/s/ Steven Marcus*

 

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In accordance with D.D.C. Local Civil Rule 83.2(g), the attorney whose name is marked with an
asterisk above certifies that: (i) he is a member in good standing of the District of Columbia bar;
(ii) he is representing a petitioner who is indigent within the meaning of Local Rule 83.2(g), at
no cost to petitioner; (ii) he has never been subject to disciplinary complaint or sanction by any
court or other disciplinary authority; (iv) he possesses a copy of the Local Rules of this District
and is familiar with the rules generally and as they pertain to this proceeding.

Dated: January 14, 2020

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